Case 2:24-mj-00130-KFW Document1 Filed 04/26/24 Pagelof1 PagelD#: 1

AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
District of Maine [|

In the Matter of the Search of )
(Briefly describe the property to be searched )

or identify the person by name and address) Case No. 2:24-mi-130-KFW
70 Molly's Point Road
Southport, ME 04576 )
)

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

Pee, of perjury that I have reason to believe that on the following person or property (identify the person or describe the
to be searched and give its location):
See, ttachment A to Affidavit of Special Agent David C. Fife

locatedinthe __ District of Maine , there is now concealed (identify the

person or describe the property to be seized):
See Attachment B to Affidavit of Special Agent David C. Fiffe

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
of contraband, fruits of crime, or other items illegally possessed;
x property designed for use, intended for use, or used in committing a crime;
0 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

18 USC Ree niny.of Goode iy Faiee Sistema =
48 USC Sec. 545 Smuggling of Goods into the U.S.

18 USC Sec. 371 Conspiracy

50 USC Sec. 1705 IEEPA

The application is based on these facts:

*% Continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days: = ) is requested under

18 U.S.C. § 3103a, the basis of which is set forth on the ee |

~~ Applicant’S-signature _
David C. Fife, Special Agent

Printed name and title

Sworn to telephonically and signed
electronically in accordance with the
requirements of Rule 4.1 of the Federal Rules
of Criminal Procedures

Date: Apr 26 2024 LA, pmmecin 7, | 7

Judge's Signature

City and state: Portland, Maine

Printed name hitle
